Case 2:15-cv-08356-JLS-KS Document 259 Filed 11/29/21 Page 1 of 4 Page ID #:9120




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   8 ON-LINE ADMINISTRATORS, INC. dba
     PEAK PERFORMANCE MARKETING
   9 SOLUTIONS
  10
                                UNITED STATES DISTRICT COURT
  11
                               CENTRAL DISTRICT OF CALIFORNIA
  12
  13
     BRIAN TRENZ, FRANCIS                     Case No. 2:15-CV-08356-JLS-KS
  14 BREIDENBACH, CAITLYN
                                              Honorable Josephine L. Staton
  15 FARRELL, and NOELLE SIMMS, on
     behalf of themselves and all others      CLASS ACTION
  16 similarly situated,
                                              STIPULATION TO AMEND
  17                                          SCHEDULING ORDER
                   Plaintiffs,
  18
  19       v.
  20 ON-LINE ADMINISTRATORS, INC.
  21 dba PEAK PERFORMANCE
     MARKETING SOLUTIONS, a
  22 California Corporation;
  23 VOLKSWAGEN GROUP OF
     AMERICA, INC., a New Jersey
  24 Corporation; and DOES 1-5,
  25
                 Defendants.                  [Complaint Filed: October 26, 2015]
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       SMRH:4855-2140-2884.2                    STIPULATION TO AMEND SCHEDULING ORDER
Case 2:15-cv-08356-JLS-KS Document 259 Filed 11/29/21 Page 2 of 4 Page ID #:9121




   1            Plaintiffs Brian Trenz, Francis Breidenbach, Caitlyn Farrell, and Noelle
   2 Simms (collectively, “Plaintiffs”) and Defendants Volkswagen Group of America,
   3 Inc. (“VWGoA”) and On-Line Administrators Inc. dba Peak Performance
   4 Marketing Solutions (“Peak”) (collectively, “Defendants”) file this Stipulation
   5 seeking an order from the Court amending the Scheduling Order as outlined below.
   6 Good cause exists to grant this Stipulation based on the following facts.
   7            1.       On May 21, 2021, the Court entered “(In Chambers) Order (1) Lifting
   8 Stay and (2) Setting Schedule” [DKT No. 251], lifting the stay in this action and
   9 setting forth a revised Scheduling Order (herein, “Scheduling Order”). The
  10 Scheduling Order set January 28, 2022 as the last day to file Motions in Limine
  11 (excluding Daubert Motions), and March 4, 2022 at 10:30 AM as the date for the
  12 Final Pretrial Conference.
  13            2.       On October 8, 2021, Defendants timely filed their Motion for Summary
  14 Judgment as to Plaintiffs Caitlyn Farrell and Noelle Simms [DKT No. 256]. The
  15 hearing on Defendants’ Motion for Summary Judgment was set in accordance with
  16 the Court’s scheduling rules and at the earliest possible time. It is set for April 1,
  17 2022 at 10:30 AM in Courtroom 10A, 10th Floor, of the United States District Court
  18 for the Central District of California, located at 411 W. Fourth S., Santa Ana, CA
  19 92701.
  20            3.       To allow for Defendants to be heard on the Motion for Summary
  21 Judgment before motions in limine are due and the pre-trial conference is scheduled,
  22 the parties have agreed that, in light of the foregoing, the dates set in the Scheduling
  23 Order for the last day to file Motions in Limine and the Final Pretrial Conference
  24 should be vacated and rescheduled, and should be reset after the April 1, 2022
  25 hearing.
  26            4.       The parties agree that allowing the Motion for Summary Judgment to
  27 be heard before requiring the parties to complete their pre-trial filings (including
  28 jury instructions, witness lists, exhibit lists, motions in limine, the Final Pre-Trial
                                                    -1-
       SMRH:4855-2140-2884.2                              STIPULATION TO AMEND SCHEDULING ORDER
Case 2:15-cv-08356-JLS-KS Document 259 Filed 11/29/21 Page 3 of 4 Page ID #:9122




   1 Conference Order, and so forth) is the most efficient course forward because the
   2 Motion has the potential to eliminate the need for trial entirely or streamline it
   3 considerably.
   4            NOW, THEREFORE, the parties request that the Court vacate the dates set in
   5 the Scheduling Order for the deadline to file Motions in Limine and the Final
   6 Pretrial Conference date, and reschedule those dates after the April 1, 2022 hearing
   7 on Defendants’ Motion for Summary Judgment.
   8            IT IS SO STIPULATED.
   9
  10
        Dated: November 24, 2021                  BAKER & HOSTETLER LLP
  11
  12                                              By: /s/ Paul G. Karlsgodt
                                                     Paul G. Karlsgodt
  13                                                 Matthew D. Pearson
  14                                              Attorneys for Defendant
                                                  VOLKSWAGEN GROUP OF AMERICA,
  15                                              INC.
  16
  17    Dated: November 24, 2021                  SHEPPARD, MULLIN, RICHTER, &
  18                                              HAMPTON LLP

  19
                                                  By: /s/ Jay T. Ramsey
  20                                                 Fred R. Puglisi
                                                     Jay T. Ramsey
  21
                                                  Attorneys for Defendant
  22                                              ON-LINE ADMINISTRATORS, INC. dba
                                                  PEAK PERFORMANCE MARKETING
  23                                              SOLUTIONS
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       SMRH:4855-2140-2884.2                           STIPULATION TO AMEND SCHEDULING ORDER
Case 2:15-cv-08356-JLS-KS Document 259 Filed 11/29/21 Page 4 of 4 Page ID #:9123




   1
        Dated:            November 24, 2021          EDELSON PC
   2
   3                                                 By: /s/ Lily E. Hough
                                                        Lily E. Hough
   4
   5
                                                     Attorneys for
   6                                                 PLAINTIFFS AND THE CERTIFIED
                                                     CLASS
   7
   8
   9
  10
                                           ATTESTATION
  11
                I, Jay T. Ramsey, attest that all other signatures listed, and on whose behalf
  12
       the filing is submitted, concur in the filing’s contents and have authorized the filing.
  13
                                                          /s/ Jay T. Ramsey
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       SMRH:4855-2140-2884.2                               STIPULATION TO AMEND SCHEDULING ORDER
